             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:12-cr-00032-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                           ORDER
                                 )
MATTHEW PAUL STARNES.            )
________________________________ )

     THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

     The Defendant has filed a motion for a reduction of his sentence.

[Docs. 155,160]. The Probation Office has submitted a supplement to the

Defendant’s Presentence Report (“PSR”) in this matter. [Doc. 169]. Based

thereon, the Court determines that the United States Attorney should provide

the Court with its position regarding the PSR supplement.

     IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

the entry of this Order, the United States Attorney shall file a pleading

responsive to the Probation Officer’s PSR supplement filed in this matter.

     IT IS SO ORDERED.

                                     Signed: June 11, 2015




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